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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:10-CR-00299-10 WBS

12                                 Plaintiff,           STIPULATION TO CONTINUE STATUS
                                                        HEARING AND EXCLUDE TIME
13                          v.
                                                        DATE: March 10, 2014
14   JOSE JESUS AGUILAR MADRIZ,                         TIME: 9:30 a.m.
                                                        COURT: Hon. William B. Shubb
15                                 Defendant.

16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a Status Hearing on March 10, 2014.

21          2.     By this stipulation, the parties now move to continue the Status Hearing to April 14, 2014,

22 and to exclude time between March 10, 2014, and April 14, 2014, under Local Code T4.

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      The parties have entered into a plea agreement in case 2:11-CR-00365-GEB.

25          Pursuant to the terms of the plea agreement, the United States will dismiss the charges against this

26          defendant in case 2:10-CR-00299-WBS once the defendant has been sentenced in 2:11-CR-

27          00365-GEB.

28                 b)      Sentencing in case 2:11-CR-00365-GEB is presently set for March 14, 2014.
      STIPULATION RE: CONTINUING PLEA HEARING AND
                                                         1
      EXCLUDING TIME
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 1                 c)      Based on the above-stated findings, the ends of justice served by continuing the

 2          case as requested outweigh the interest of the public and the defendant in a trial within the

 3          original date prescribed by the Speedy Trial Act.

 4                 d)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5          et seq., within which trial must commence, the time period of March 10, 2014, to April 14, 2014,

 6          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 7          because it results from a continuance granted by the Court at defendant’s request on the basis of

 8          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 9          of the public and the defendant in a speedy trial.

10          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

13          IT IS SO STIPULATED.

14 Dated: March 4, 2014                                       BENJAMIN B. WAGNER
                                                              United States Attorney
15

16                                                            /s/ JUSTIN L. LEE
                                                              JUSTIN L. LEE
17                                                            Assistant United States Attorney

18
     Dated: March 4, 2014                                     /s/ PRECILIANO MARTINEZ
19                                                            PRECILIANO MARTINEZ
                                                              Counsel for Defendant
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22

23                                          FINDINGS AND ORDER

24          IT IS SO FOUND AND ORDERED.

25          Dated: March 7, 2014

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27

28
      STIPULATION RE: CONTINUING PLEA HEARING AND
                                                          2
      EXCLUDING TIME
